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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION
JULIO GARCIA,

 Plaintiff,
                                                  CASE NO.: 8:15-CV-02510-T-27TBM
-vs-

NAVIENT SOLUTIONS, INC., NAVIENT
CORPORATION and STUDENT
ASSISTANCE CORPORATION,

  Defendants.
                                     /
                                    NOTICE OF SETTLEMENT

        Plaintiff, JULIO GARCIA, by and through his undersigned counsel, hereby notifies the

Court that the parties, Plaintiff, JULIO GARCIA, and Defendants, NAVIENT SOLUTIONS

INC., NAVIENT CORPORATION and STUDENT ASSISTANCE CORPORATION have

reached a settlement with regard to this case, and are presently drafting, and finalizing the

settlement agreement, and general release documents. Upon execution of the same, the parties

will file the appropriate dismissal documents with the Court.

                                CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished to
Dayle M. Van Hoose 3350 Buschwood Park Drive, Suite 195 Tampa FL 33618,
dvanhoose@sessions.legal; evap@sessions.legal, via electronic mail on this 8th day of August,
2016.
                                             /s/ Octavio Gomez
                                              Octavio Gomez, Esquire
                                              Morgan & Morgan, Tampa, P.A.
                                              One Tampa City Center
                                              201 N. Franklin Street, 7th Floor
                                              Tampa, FL 33602
                                              Tele: (813) 223-5505
                                              Fax: (813) 223-5402
                                              Florida Bar #: 0338620
                                              Attorney for Plaintiff
